Case 1:01-cr-00041-TWP-TAB Document 92 Filed 11/09/20 Page 1 of 8 PageID #: 292




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

  UNITED STATES OF AMERICA                                Case No. 1:01-cr-41-TWP-TAB-04

                                                          ORDER       ON     MOTION FOR
  v.                                                      SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)
  GEORGE G. SANCHEZ, JR.                                  (COMPASSIONATE RELEASE)


        Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

 in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

 in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

 IT IS ORDERED that the motion is:

 ☒ DENIED.

 ☐ DENIED WITHOUT PREJUDICE.

 ☐ OTHER:

 ☒ FACTORS CONSIDERED: See attached opinion.
Case 1:01-cr-00041-TWP-TAB Document 92 Filed 11/09/20 Page 2 of 8 PageID #: 293




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                            )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )   Case No. 1:01-cr-00041-TWP-TAB-4
                                                      )
 GEORGE G SANCHEZ, JR.,                               )
                                                      )
                               Defendant.             )

             ORDER DENYING MOTION FOR COMPASSIONATE RELEASE

        Pending before the Court is George G Sanchez's ("Mr. Sanchez") Motion for Sentence

 Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(A) (Compassionate Release). (Dkt. 91.) Mr.

 Sanchez seeks immediate release from incarceration because of the Coronavirus. Id. For the

 reasons stated below, his motion is denied.

                                            I. BACKGROUND

        In May 2002, the Court sentenced Mr. Sanchez to 294 months' imprisonment and 5 years

 of supervised release after he pled guilty to one count of armed bank robbery and one count of

 brandishing a firearm during a bank robbery. (Dkt. 8 at 5.) Judgment was entered on May 10,

 2002. Id. An amended judgment was entered on May 23, 2002. Id.

        On September 16, 2020, Mr. Sanchez filed a pro se § 3582 Motion Request for

 Compassionate Release under the Cares Act, First Step Act, Second Step Act. (Dkt. 88.) Mr.

 Sanchez also asked the Court to appoint counsel to represent him. (Dkt. 89.) The Court concluded

 that the Motions did not, on their face, show that Mr. Sanchez was entitled to compassionate

 release or that the interests of justice supported appointing counsel and denied the motions without


                                                  2
Case 1:01-cr-00041-TWP-TAB Document 92 Filed 11/09/20 Page 3 of 8 PageID #: 294




 prejudice. (Dkt. 90.) The Court informed Mr. Sanchez that he could file a renewed motion by

 completing and returning the Court's form compassionate release motion. Id. On October 28,

 2020, Mr. Sanchez submitted a renewed Motion by completing and returning the Court's form

 compassionate release motion. (Dkt. 91.) That Motion is currently pending before the Court. 1

                                                II. DISCUSSION

          Mr. Sanchez is 43 years old. He is presently incarcerated at the Federal Correctional

 Institution in Sheridan, Oregon ("FCI Sheridan"). As of November 5, 2020, the Bureau of Prisons

 ("BOP") reports that FCI Sheridan has no active COVID-19 case among inmates and one active

 case among staff; it also reports that 5 inmates at FCI Sheridan have recovered from the virus.

 https://www.bop.gov/coronavirus/ (last visited Nov. 5, 2020). According to the BOP website, Mr.

 Sanchez's release date is November 9, 2022.

          In his renewed motion, Mr. Sanchez states that he is seeking release because of the COVID-

 19 pandemic. (Dkt. 91 at 4.) He admits that he has no underlying medical issues but asks the

 Court to release him because he has served more than 90% of his sentence and because the BOP

 has been strained in trying to comply with guidelines for handling the COVID-19 pandemic. Id.

 He also states that he fears for his safety due to threats on his life. Id.

          18 U.S.C. § 3582(c) provides in relevant part:

          [T]he court, upon motion of the Director of the Bureau of Prisons, or upon motion
          of the defendant after the defendant has fully exhausted all administrative rights to
          appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf
          or the lapse of 30 days from the receipt of such a request by the warden of the
          defendant's facility,[2] whichever is earlier, may reduce the term of imprisonment

 1
   The Court concludes that it does not require a response brief from the Government to decide the issues presented by
 Mr. Sanchez's Motion. The Court also concludes that the interests of justice do not support appointing counsel to
 represent Mr. Sanchez because the face of his Motion shows that he is not entitled to relief.
 2
   Mr. Sanchez states that he submitted an administrative request to his warden more than 30 days ago. (Dkt. 91 at 3.)
 Thus, the Court may proceed to the merits of his motion.
                                                          3
Case 1:01-cr-00041-TWP-TAB Document 92 Filed 11/09/20 Page 4 of 8 PageID #: 295




         (and may impose a term of probation or supervised release with or without
         conditions that does not exceed the unserved portion of the original term of
         imprisonment), after considering the factors set forth in section 3553(a) to the
         extent that they are applicable, if it finds that—

                 (i) extraordinary and compelling reasons warrant such a reduction . . . and
         that such a reduction is consistent with applicable policy statements issued by the
         Sentencing Commission . . . .

 18 U.S.C. § 3582(c)(1)(A).

         Congress directed the Sentencing Commission to "describe what should be considered

 extraordinary and compelling reasons for sentence reduction, including the criteria to be applied

 and a list of specific examples." 28 U.S.C. § 994(t). It directed that "[r]ehabilitation of the

 defendant alone shall not be considered an extraordinary and compelling reason." Id. In response

 to this directive, the Sentencing Commission promulgated a policy statement regarding

 compassionate release under § 3582(c), contained in United States Sentencing Guidelines

 ("U.S.S.G.") § 1B1.13 and the accompanying Application Notes. While that particular policy

 statement has not yet been updated to reflect that defendants (and not just the BOP) may move for

 compassionate release, 3 courts have universally turned to U.S.S.G. § 1B1.13 to provide guidance

 on the "extraordinary and compelling reasons" that may warrant a sentence reduction. E.g., United

 States v. Casey, 2019 WL 1987311, at *1 (W.D. Va. 2019); United States v. Gutierrez, 2019 WL

 1472320, at *2 (D.N.M. 2019); United States v. Overcash, 2019 WL 1472104, at *2-3 (W.D.N.C.




 3
   Until December 21, 2018, only the BOP could bring a motion for sentence reduction under § 3582(c)(1)(A). The
 First Step Act of 2018, which became effective on December 21, 2018, amended § 3582(c)(1)(A) to allow defendants
 to bring such motions directly, after exhausting administrative remedies. See 132 Stat. at 5239 (First Step Act §
 603(b)).

                                                        4
Case 1:01-cr-00041-TWP-TAB Document 92 Filed 11/09/20 Page 5 of 8 PageID #: 296




 2019). There is no reason to believe, moreover, that the identity of the movant (either the defendant

 or the BOP) should have any impact on the factors the Court should consider.

         As provided in § 1B1.13, consistent with the statutory directive in § 3582(c)(1)(A), the

 compassionate release analysis requires several findings. First, the Court must address whether

 "[e]xtraordinary and compelling reasons warrant the reduction" and whether the reduction is

 otherwise "consistent with this policy statement." U.S.S.G. § 1B1.13(1)(A), (3). Second, the

 Court must determine whether Mr. Sanchez is "a danger to the safety of any other person or to the

 community, as provided in 18 U.S.C. § 3142(g)." U.S.S.G. § 1B1.13(2). Finally, the Court must

 consider the § 3553(a) factors, "to the extent they are applicable." U.S.S.G. § 1B1.13.

         Subsections (A)-(C) of Application Note 1 to § 1B1.13 identify three specific "reasons"

 that qualify as "extraordinary and compelling": (A) terminal illness diagnoses or serious conditions

 from which a defendant is unlikely to recover and which "substantially diminish[]" the defendant's

 capacity for self-care in prison; (B) aging-related health decline where a defendant is over 65 years

 old and has served at least ten years or 75% of his sentence, whichever is less; or (C) certain family

 circumstances (the death or incapacitation of the caregiver of the defendant's minor child or the

 incapacitation of the defendant's spouse or registered partner when the defendant would be the

 only available caregiver for the spouse or registered partner). U.S.S.G. § 1B1.13, Application Note

 1(A)–(C). Subsection (D) adds a catchall provision for "extraordinary and compelling reason[s]

 other than, or in combination with, the reasons described in subdivisions (A) through (C)." Id.,

 Application Note 1(D). 4


 4
   The policy statement provides that "[a] reduction under this policy statement may be granted only upon motion by
 the Director of the Bureau of Prisons." U.S.S.G. Manual §1B1.13, Application Note 4. Likewise, the catchall
 provision provides, "As determined by the Director of the Bureau of Prisons, there exists in the defendant's case an
 extraordinary and compelling reason other than, or in combination with, the reasons described in subdivisions (A)
                                                          5
Case 1:01-cr-00041-TWP-TAB Document 92 Filed 11/09/20 Page 6 of 8 PageID #: 297




          Mr. Sanchez does not suggest that Subsections (A)-(C) of Application Note 1 to § 1B1.13

 apply to him. See Dkt. 91 at 2. Thus, the question is whether the catchall provision for

 extraordinary and compelling reasons applies in this case.

          The Court concludes that it does not. Mr. Sanchez admits that he does not have any

 underlying medical conditions. Instead, he bases his motion on the generalized threat that the

 COVID-19 virus poses. While the Court sympathizes with Mr. Sanchez's fear of contracting the

 virus, the general threat of contracting COVID-19 is not an extraordinary and compelling reason

 warranting a sentence reduction. See United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)

 ("[T]he mere existence of COVID-19 in society and the possibility that it may spread to a particular

 prison alone cannot independently justify compassionate release, especially considering BOP's

 statutory role, and its extensive and professional efforts to curtail the virus's spread."); United

 States v. Jackson, No. 1:18-cr-314-RLY-MJD01, Dkt. 33 (S.D. Ind. Aug. 12, 2020) (concluding

 that the general threat of contracting COVID-19 is not an extraordinary and compelling reason

 warranting a sentence reduction). As such, this Court has consistently denied motions for

 compassionate release from defendants—like Mr. Sanchez—who are not at an increased risk of

 developing severe symptoms if they contract COVID-19, even when they are incarcerated in a



 through (C)." Id., Application Note 1(D). This policy statement has not been amended since the passage of the First
 Step Act. Insofar as it states that only the Director of the BOP can bring a motion under § 3582(c)(1)(A), it is directly
 contradicted by the amended statutory text. This discrepancy has led some courts to conclude that the Commission
 does not have a policy position applicable to motions under § 3582(c)(1)(A)(i) and that they have discretion to
 determine what constitutes an "extraordinary and compelling reason" on a case-by-case basis, looking to the policy
 statement as helpful, but not dispositive. See, e.g., United States v. Perdigao, No. 07-103, 2020 WL 1672322, at *2
 (E.D. La. Apr. 2, 2020) (collecting cases); see also United States v. Haynes, No. 93 CF 1043 (RJD), 2020 WL
 1941478, at *14 (E.D.N.Y. Apr. 22, 2020) (collecting cases). Other courts have held that they must follow the policy
 statement as it stands and, thus, that the Director of the BOP is the ultimate arbiter of what counts as "extraordinary
 and compelling" under the catchall provision. See, e.g., United States v. Lynn, No. 89-0072-WS, 2019 WL 3805349,
 at *2–4 (S.D. Ala. Aug. 13, 2019). The Court need not resolve that debate, though, because Mr. Sanchez's Motion is
 due to be denied even if the Court assumes that the policy statement is not binding and that it has the discretion to
 determine what constitutes an "extraordinary and compelling reason" for a sentence reduction.
                                                            6
Case 1:01-cr-00041-TWP-TAB Document 92 Filed 11/09/20 Page 7 of 8 PageID #: 298




 "hotspot" for COVID-19 infections. See United States v. Dyson, 2020 WL 3440335, at *3 (S.D.

 Ind. June 22, 2020) (collecting cases). FCI Sheridan is also not a current hotspot for COVID-19

 infections, making Mr. Sanchez's situation even less extraordinary and compelling than cases in

 which the Court has denied relief.

        To the extent that Mr. Sanchez is complaining about the way that the BOP has handled the

 COVID-19 pandemic, the result does not change. Such complaints could conceivably support an

 action under Bivens v. Six Unknown Named Agents, 403 U.S. 388 (1971), or a claim for injunctive

 relief. Given the availability of alternative relief, such complaints do not constitute an

 extraordinary and compelling reason warranting a sentence reduction.

        Finally, the Court acknowledges that Mr. Sanchez reports that his life is threatened and that

 he fears for his safety. Again, if Mr. Sanchez believes that the BOP is not adequately protecting

 him, he might wish to consider filing a Bivens action or a claim for injunctive relief in the district

 of incarceration. But Mr. Sanchez has not presented an extraordinary and compelling reason

 warranting release.

        Given the Court's determination that Mr. Sanchez has not shown extraordinary and

 compelling reasons to justify his release, it does not need to decide whether he poses a danger to

 the community or whether the § 3553(a) factors weigh in favor of his release.

                                        III. CONCLUSION

        For the reasons stated above, Mr. Sanchez's Motion for compassionate release, (Dkt. [91]),

 is DENIED.

        SO ORDERED.

 Date: 11/9/2020


                                                   7
Case 1:01-cr-00041-TWP-TAB Document 92 Filed 11/09/20 Page 8 of 8 PageID #: 299




 DISTRIBUTION:

 George G Sanchez, Jr., Reg. No. 16647-112
 Federal Correctional Institution
 P.O. Box 5000
 Sheridan, Oregon 97378

 Shelese M. Woods
 UNITED STATES ATTORNEY'S OFFICE
 shelese.woods@usdoj.gov

 Steven D. DeBrota
 UNITED STATES ATTORNEY'S OFFICE
 steve.debrota@usdoj.gov




                                             8
